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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


   IMPLICIT, LLC,
        Plaintiff,

   v.                                                    Civil Action No. 2:18-cv-00053-JRG
                                                                    LEAD CASE
   NETSCOUT SYSTEMS, INC.
        Defendant.
                                                            JURY TRIAL DEMANDED
   v.
                                                         Civil Action No. 2:18-cv-00054-JRG
   SANDVINE CORPORATION.                                           MEMBER CASE
       Defendant.


          JOINT STIPULATION REGARDING CERTAIN AGREEMENTS ON

                                    MOTIONS IN LIMINE




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         Plaintiff Implicit, LLC (“Implicit”) and Defendants NetScout Systems Inc. (“NetScout”)

and Sandvine Corporation (“Sandvine”) (collectively, the “Parties”) respectfully give notice that

they have met and conferred and reached certain agreements regarding the Parties’ Motions in

Limine, as outlined below.1

         By entering into this stipulation, the parties do not waive any rights to object to the

admission of any evidence for any reason and nothing herein shall be construed as an admission

that any evidence is relevant or admissible.

         Agreements:

1.       The Parties have resolved Defendants’ Motion in Limine No. 6. Implicit will not offer,

solicit, or refer to testimony, evidence, or argument of Defendants’ total revenue, profits, other

than the apportioned and unapportioned royalty bases. However, Implicit may adduce offer,

solicit, or refer to testimony, evidence, or argument, using relative terms, that sales of the

accused products make up a large portion of each Defendants total or U.S. revenue or profits.

Some non-limiting examples of such relative terms are, “nearly all,” “the majority,” “the vast

majority,” “more than half,” “practically all,” “a significant portion,” etc. If Defendants’

question what such relative terms mean, Implicit’s witnesses will be permitted to respond with

percentages.

2.       The Parties have resolved Defendants’ Motion in Limine No. 7. No Party will put forth

testimony or evidence regarding correspondence between counsel and third-party witnesses

relating to the service of subpoenas, scheduling depositions, and producing documents in the

case, with the exceptions of third-parties David Mosberger, Larry Peterson, and Dan Decasper.




1
    NetScout and Sandvine are collectively referred to as “Defendants.”

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                                                                                                     1
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3.      The Parties have resolved Defendants’ Motion in Limine No. 9. Neither party will put

forth evidence or argument regarding any of the Court’s rulings except for the applicable claim

constructions.

4.      Sandvine and Implicit have resolved Sandvine’s Motion in Limine No. 13. Implicit will

not offer or otherwise use the Sandvine declaration at ECF 18-2 as part of a direct examination

during its opening case, but reserves the right to offer or otherwise use the declarations within

the scope of any appropriate cross-examination or rebuttal, or to impeach; this reservation

includes during any adverse direct if Implicit calls Sandvine’s corporate representative(s) in its

case in chief.

5.      The Parties have reached Agreement on Implicit’s Motion in Limine No. I. Neither

Defendant will offer, solicit, or refer to testimony, evidence, or argument relating to the dispute

between Implicit and R. Michael Crill.



 Dated: November 8, 2019                           Respectfully submitted,

 By: /s/ Mark C. Lang_                             By: /s/ Brandon C. Martin

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                                                   Counsel for Plaintiff Implicit, LLC


                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). As such, this motion was served on all counsel who have

consented to electronic service, per Local Rule CV-5(a)(3), on this the 8th day of November, 2019.

                                              /s/ Lynne Rose Maylath
                                              Lynne Rose Maylath




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